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                                                                                           .".j
                                                                                                    JUL - 7 2016
                         IN THE       UNITED   STATES       DISTRICT       COURT
                       FOR THE        EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division


UNITED       STATES   OF AMERICA


V.                                                      Criminal Action No.            3:96CR66


DEAN ANTHONY BECKFORD


                                       MEMORANDUM OPINION


        By    Memorandum         Opinion       and       Order     entered       on    December            12,

2002,     the Court denied a              28    U.S.C.       §    2255 motion filed by Dean

Anthony Beckford.                (ECF No.      1715.)        On June 27,          2016,           the Court

received       another      28    U.S.C.       §    2255     motion       from    Beckford              ("June

27,    2016 § 2255 Motion/' ECF No. 1901).

        The Antiterrorism and Effective                           Death    Penalty Act             of     1996

restricted         the     jurisdiction            of     the     district        courts           to     hear

second       or    successive          applications              for    federal       habeas            corpus

relief by prisoners attacking the validity of their convictions

and sentences by establishing a "gatekeeping mechanism."                                                Felker

V.     Turpin,     518    U.S.     651,     657         (1996)     (internal      quotation marks

omitted).             Specifically,            " [b]efore          a     second       or      successive

application permitted by this section is filed in the district

court,       the   applicant           shall       move    in     the     appropriate             court     of

appeals for an order authorizing the district court to consider

the application."                28    U.S.C.       §    2244(b)(3)(A).               The         Court has

not     received         authorization             from     the        United    States           Court     of


Appeals for the Fourth Circuit to entertain Beckford's June 27,
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2016   §    2255 Motion.        Accordingly,       June   27,   2016   § 2255 Motion

(ECF No.      1901)   will be dismissed for want of             jurisdiction.    The

Court will deny a certificate of appealability.

       The    Clerk    is   directed   to   send   this    Memorandum Opinion     to

Beckford and counsel         for   the United States.


       It    is   so ORDERED.



                                                     /s/               ILU
                                        Robert E. Payne
                                        Senior United States District Judge

Richmond, Virginia
